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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

TIMOTHY MELLON, a Wyoming
resident,

Plaintiff,

vs. No. 13-CV-118 S

THE INTERNATIONAL GROUP FOR
HISTORIC AIRCRAFT RECOVERY,
a Delaware non-profit
corporation, and RICHARD E.
GILLESPIE,

Defendants.
TELEPHONE DEPOSITION UPON ORAL EXAMINATION
OF
JESSE RODOCKER

Seattle Deposition Reporters, LLC
600 University Street, Suite 320
Seattle, WA 98101

DATE: June 26, 2014

REPORTED BY: Jill L. Cheeseman, RPR
Washington CCR 2404

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1 would normally do is charge for our expenses so that we 1 example, in selling an ROV you would charge extra for?
2 have no out-of-pocket costs but we wouldn't necessarily 2 A. Not all of them. Some of them are part of
3 charge any rates for the equipment. 3 the system. Some of them are accessories.
4 Q. Mr. Rodocker, I'm going to ask the court 4 Q. What one of those as we look down through
5 reporter to hand you what we've labeled as Exhibit-1 5 that list are accessories?
6 Rodocker. And let me know when you have that in front 6 A. The integrated navigation control console,
7 of you. 7 the HD camera upgrade, the three-jaw grabber, the
8 A. Thave it in front of me. 8 external lighting and the Tritech MicronNAV USBL
9 Q. You recognize that document? 9 positioning system.
10 A. Yes. 10 Q. So let me back up. The vehicle that was
11 Q. And what is that document? 11 actually used is part of the description. I see the
12 A. It's the bid quote. 12 part number is LBV300-6; is that correct?
13 Q. And is this an accurate representation of 13 A, That's actually not correct. It was the
14 what you actually ended up billing Tighar for your work 14 LBV300-5.
15 on the 2010 expedition? 15 Q. Okay.
16 A. I believe so, yes. 16 A. That might have been -- I'm not sure if that
17 Q. Okay. Now, looking at this document a little 17 was a typo when this quote was done or if we were
18 bit further, I know that down towards the bottom where 18 originally talking about doing one of those. I don't
19 it has Operator and Training it accounts for 21 days of 19 recall.
20 a trained operator -- trained operator's time. Do you 20 Q. And the LBV300-5, as you look sort of across
21 see that? 21 the spectrum of your products, is that kind of a lower
22 A. Yes. 22 end ROV or one of the larger ROVs?
23 Q. And I see that there was no charge for that. 23 A. It's the most sold ROV we have. It's not low
24 Is that correct? 24 end. It's -- it's the best of our small ROVs, put it
25 A. Yes. 25 that way.
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1 Q. And why was that? 1 Q. And who made the decision to utilize that
2 A. Well, like I was saying earlier, we would do 2 particular ROV? Was it you or Tighar?
3 things like this without charging for the personnel. 3 A. Me.
4 We would charge for the -- we would just get our 4 Q. Okay. And so prior to submitting your bid,
5 expenses covered. 5 did you talk to Tighar at all about the specifications
6 Q. And that's also provided there under the 6 or capabilities for that particular ROV?
7 Operator portion, correct? 7 A. They didn't know anything about ROVs. They
8 A. Yeah. Just have it on the quote template. 8 just said, "Basically we need to go to a thousand feet.
9 So what we would do is we charge them a day rate for 9 We have a 300 meter by 300 meter area to search. We -
10 the equipment to basically cover some kind of wear and 10 want HD. We want to be able to know where the ROV is."
11 tear on the equipment so when it got back we could make 11 They just gave me some basic parameters.
12 it so we could sell it as say aused system or putit 12 There was an RFQ, which I can't recall what it actually :
13 into our demo pool. The operator was free of charge, 13 said; but there would have been something that
14 no charge; and then the travel expenses were to be paid 14 specified the requirements. :
15 for by the client. 15 Q. Okay. And then so as far as the -- those
16 Q. And the day rate that's charged up there 16 accessories that you talked about, adding those -- you
17 above then, that is -- do I understand your testimony 17 mentioned J think that Tighar expressly wanted to use
18 that that's related to cover the costs of wear and tear 18 an HD camera; is that correct?
19 of the equipment? 19 A. Yes.
20 A. Yes. 20 Q. And then as far as the other accessories, are :
21 Q. And there's a number of sort of add-ons or 21 those things that you decided would be appropriate to
22 additional equipment listed below there. Do you see 22 add; or was that something that Tighar specifically
23 that? 23 asked for? |
24 A. Yes. 24 A. Well, the external lighting is required for f
25 Q. And were those things that typically, for 25 the HD camera. The Tritech MicronNAV USBL positioning |,

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1 system was to fulfill the requirement of knowing where 1 it -- Explain a little bit. Is there a tether system
2 the ROV is, and then the grabber was I'm guessing -- 2 that's utilized with the ROV?
3 and may have been in the RFQ that they wanted the 3 A. Yes.
4 ability to maybe collect a sample. So they wanted a 4 Q. And how does that work? What function does a
5 little arm. So that would have been what that would 5 tether system perform?
6 have been there for. 6 A. Well, the tether is how the ROV gets power.
7 Q. And that ROV with the three-jaw grabber, 7 It's how the video and the telemetry data is supplied
8 would that be capable of doing any sort of recovery if 8 to the surface. So physics, as long as it exists as we
9 you were successful in finding wreckage? 9 know it today, precludes the ability to transmit full
10 A. Depends on what it is; but, yep, we can -- 10 frame rate video and high bandwidth data through water
11 that ROV can lift up to 220 pounds, 100 kilos, in water 11 without a cable.
12 without damaging it. 12 Q. And so I note again on the quote that there
13 Q. And the three-jaw grabber would be necessary 13 is a fiber optic tether listed there of 350 meter long
14 for doing that I'm assuming? 14 fiber optic tether; do you see that?
15 A. Yes. 15 A. Yes.
16 Q. Do you have as part of your product line 16 Q. And is that what was actually used and
17 accessories that help to measure scale? 17 provided as part of the expedition?
18 A. Wedo have — Well, there's two things. 18 A. Yes.
19 One, we do laser scaling, which is a pair of lasers 19 Q. So getting back to this issue of the high
20 that are 50 millimeters apart that when projected on an 20 definition and standard definition video, if they did
21 object in the video you can then see that's 50 21 utilize standard definition, would that camera have
22 millimeters; or you can use sonar. 22 come from you guys as well; or is that something that
23 Q. And did Tighar make any requests for that 23 they would have provided?
24 accessory or for hardware that would allow them to 24 A. No, no, no, All the equipment comes from us.
25 determine scale during the search? 25 Q. Okay. So ifthere was a standard definition
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1 A. I don't recall them asking for that, no. 1 camera, that would have just been another accessory
2 Q. Is that fairly -- is it fairly common to use 2 that you guys would have provided.
3 either -- well, to use the laser sight to determine 3 A. Yes.
4 scale during searches? 4 Q. You mentioned that tether provides the power
5 A. Sonar is more common. Laser is a few. And 5 for the vehicle. How is it powered? Is it an
6 lasers -- You know what? Laser wouldn't have been an 6 electrical vehicle?
7 option. Laser doesn't work with the HD camera. It 7 A. Yes.
8 only works with our standard definition camera. 8 Q. Sois there a generator somewhere? Is it
9 Q. Was there also a standard definition camera 9 tied into the power system of the boat? How does that
10 on this ROV? 10 work?
11 A. There might have been. I don't recall. 11 A. In this case, yes, we were supplied power
12 Q. Ifthere was, would the laser sight have been 12 from the vessel we were operating from.
13 an option? 13 Q. Okay. After you provided the quote, do you
14 A. It would have been an option if there was, 14 recall any other conversations with Tighar or its
15 yes. 15 representatives prior to the 2010 expedition?
16 Q. And did you -- I mean, do you remember having 16 A. Yes, We had conversations about, for
17 any discussion at all with Tighar about scale and 17 example, the operating platform. The boat we would be
18 methodology for determining scale during the search? 18 operating from, we needed to learn more about that,
19 A. I don't, no. 193 make sure that was suitable. We discussed the
20 Q. Did you ever recommend the use of either 20 equipment and what other types of equipment might be
21 sonar or laser to them? 21 useful.
22 A. I don't recall. 22 And then two of the crew — or two of the
23 Q. Now, Inote on this Exhibit-1 we've been 23 participants, whatever you want to call them, they came
24 looking at the notation behind the LBV300 notes it can 24 to San Diego. I met them in San Diego, and I showed
25 go to 300 meters; it's depth rated to that depth. Does 25 them the equipment and kind of gave them a little bit

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1 A. Right. That's the piece I'm talking about. 1 Q. And so how much time did you spend trying to
2 Q. Okay. That's the same thing as you were just 2 relocate that area with the broken wire?
3 testifying to? 3 A. Ican't recall exactly; but it seems like we
4 A. Yeah. So we saw it and got up close to it 4 spent, you know, several hours.
5 and got the video of it and we're looking at it -- and 5 Q. Now, you were saying -- you mentioned that by
6 I had not prior to that seen whip coral - and we're 6 that time you had lost that topside piece of equipment;
7 studying that and it looked kind of interesting because 7 is that correct?
8 maybe it could be from the antenna on the airplane and 8 A. Yes,
9 everybody got real excited and stuff so we reviewed 9 Q. When you did lose that, how did that impact
10 that. 10 your operations?
11 And it was J think maybe even the next day or 11 A. Well, we didn't have quite as precise a
12 later that day we were doing more ROV work and we came 12 position of where the ROV was. I had to use other -- I
13 across the whip coral, and that's when I learned about 13 had to use my depth and my heading and the contour of
14 it. And it's exactly the same. It was identical. So 14 the land to be able to approximate where I was.
15 that's when we realized that it was a natural -- 15 I mean, we had already -- fortunately, we had
16 naturally occurring piece of material, not a piece of 16 already kind of covered that 300 meter section they
17 wire. 17 wanted to cover and we had extended our search and then
18 And I say -- I'm saying that with 99.9 18 gone back to look more in that same area.
19 percent certainty. Obviously I didn't hold it in my 19 But what I could use was you can see the
20 hand to verify it, but I would say that's - everybody 20 shape of the island and you know what depth you are and
21 else -- seemed like everybody else agreed, "Oh, yeah, 21 you travel along basically the underwater portion of
22 that's whip coral,” , 22 the island, you would go at a set depth of say call it
23 Q. What about the two pieces of rope that were 23 100 meters,
24 found? 24 You travel to the extent that your cable
25 A. Just long bits of rope. And I thought they 25 would allow; and then you would dive the other ROV say
Page 47 Page 49 |
1 were more closer to the shipwreck that's there, the 1 -- whatever the visibility was, say 5 meters, so go
2 Norwich City. And we tried to grab on it and recover, 2 down to like 105 or 110 meters, and you came back in i
3 but it was fully embedded and had been there for a 3 the opposite direction so you could do a systematic |
4 while, But it was a pretty significant amount of rope. 4 approach to covering the area in that method.
5 Q. And actually on the two strands of rope, did 5 Q. So you came across that rope the first time :
6 you try to retrieve both of them with the arm or just 6 around, you -- did you know what depth it was at?
7 one of them? 7 A. We would have known the depth, yes.
8 A. I'm not sure if we tried -- I know we tried 8 MR. MASTERSON: I need to object as to form, = |
9 at least one. I'm not sure if we tried both. 9 but go ahead. Thank you.
10 Q. Actually, after you found the rope and wire, 10 BY MR. STUBSON:
11 the coil together, did you go back and try to return to 11 Q. Go ahead, Mr. Rodocker.
12 that same site? 12 A. Yes, we would have known the depth.
13 MR. MASTERSON: I need to make an objection 13 Q. And what other information would you have
14 as to form. Thank you. 14 known about the location of that? .
15 BY MR. STUBSON: 15 A. Well, we know where the ship is, And it's .
16 Q. You can answer. 16 got -- we have GPS coordinates for the ship; and we :
17 A. We - yeah, the whip coral thing we did try 17 were using a clump weight on the tether because of the
18 to go back to that. It was -- yeah, so obviously found 18 current, which means you apply weight to the bottom of |:
19 that. I believe that was found after the incident with 19 the cable that's near to the ROV so the cable is -- :
20 my tracking system when they sucked it into the 20 you're not pulling all the cable through the water, |
al thruster, so we didn't have tracking to get ourselves 21 because that's where the drag is created, and that :
22 back to that exact location. 22 cable is basically going pretty much vertically :
23 Q. Ifyou had found the whip coral all over, why 23 straight down to the bottom, so then you would know --
24 did you decide to go back to it? 24 and that cable was, oh, I don't know, maybe it was 25, (
25 A, They wanted to. The Tighar wanted to. 25 30 meters-ish back from the ROV, so you would have a

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1 Q. Looking — Sorry. Let me find it real 1 A. Ifmemory serves me, I think we did try the
2 quick. On the entry under May 28, you see it says, we 2 second one. It didn't have HD. J think it had a sonar
3 "located what appeared to be a manmade object. 3 on it, so we tried that. But it wasn't really of any
4 Recovered ROV, fitted grabber and went back to object"? 4 benefit because everything was so visual and the
5 Do you see that? 5 steepness of the terrain, so I didn't use it much.
6 A. Yes. 6 Q. Looking on the second bullet point under
7 Q. And at that time did you still have the 7 that, it talks about "Loss of long tether capability."
8 topside equipment working? 8 Do you see that?
9 A. Yes. 9 A. That's correct. That's the broken tether we
10 Q. So that's why you were able to go right back 10 were talking about earlier.
11 to the object? 11 Q. Okay. And it looks like that -- your note
12 A. That's correct. 12 here says it happened on the third day of the ROV
13 Q. And when you were in the area of the rope and 13 operations; is that correct?
14 what you later determined to be whip coral, did have 14 A. Yeah, that's what it looks like, yep. It did
15 you the arm fitted on the ROV at that time? 15 happen relatively quickly.
16 A. No. 16 Q. So between that third day and when the VvS1
17 Q. Looking at the next page, you see where it 17 arrived, you would have been limited in depth of your
18 says, "Difficulties Encountered"? 18 search; is that correct?
19 A. Yes. 19 A. Yes. Those days we did down to 150 meters,
20 Q. And I want to ask you about a few of those. ; : and those were aso the days that we did the AUV
a1 Well, first of all, is this a complete list of the operations as wel. .
22 difficulties that you did have in operating the ROV? 22 Q. And then the fourth bullet point there talks
23 A. They would have been — Most likely, yes, I 23 about the topside transducer. We talked about that,
24 mean, this is obviously a summary. This doesn't go 24 correct?
oe : y @ summery e 25 A. That's right.
25 into the same kind of detail, but that would have been
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1 -- I mean, I don't put down there for example that the 1 Q. And that was a problem that continued from
2 people that were helping me weren't very good. 2 the date that was damaged through the end of the
3 Q. Fair enough. 3 expedition; is that right?
4 A. But it's the key ones, the important ones, 4 A. That is right.
5 yes. 5 Q. Looking on the next page of that report,
6 Q. Okay. The beginning one, the "Shipping 6 there's a map of the ROV search. Do you see that?
7 damage to secondary LBV," do you see that? 7 A. Yes.
8 A. Uh-huh. 8 Q. And is that a map that you created?
9 Q. What was the secondary LBV? 9 A. Yes.
10 A. Sol brought a backup. So I brought two of 10 Q. And the red line, is that the area that we've
11 them, so when you're -- when you're as remote as this 11 been talking about, the 300 by 300 meter area that
12 island is, you can't obviously nip down to the Radio 12 Tighar wanted to have searched?
13 Shack for bits and pieces, so I brought redundancy. So 13 A. Yeah. It looks like it, yeah.
14 I had two ROVs; I had multiple cables; I had, you know 14 Q. Okay, And then the green line would be where
15 ~- [had as much as I could bring within reason 15 you actually did conduct the search?
16 obviously. 16 A. That's right.
17 Q. And so by the time you got on site, was there 17 Q. And I see that there's a notch out of that
18 only one operational LBV? 18 red box that appears wasn't searched; is that accurate?
19 A. Well, all right, so we had some shipping 19 A. Yep.
20 damage; but I could still use bits and pieces, so all I 20 Q. Do you know why that area wasn't searched?
21 needed really was one operational! unit that if I needed al A. I don't remember. It's near the Norwich
22 to I could steal a part from the other one to keep the 22 City, north of there.
23 other one working. 23 No. I can’t remember why or what the issue
24 Q. And did you only use one of the LBVs while 24 was there with the search area.
25 you were on site? 25 Q. Did you after you returned from the

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